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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA
                                  FORT WAYNE DIVISION

 LIGTEL COMMUNICATIONS, INC.,

                Plaintiff,

        v.                                            Case No. 1:20-cv-00037-HAB-SLC

 BAICELLS TECHNOLOGIES INC.;
 BAICELLS TECHNOLOGIES NORTH
 AMERICA, INC.,

                Defendants.


                              DECLARATION OF RICK HARNISH

        I, Rick Harnish, declare the following:

        1.      I am a citizen of the United States of America, domiciled in the State of Indiana.

        2.      I hold a Bachelor’s degree in Agriculture Mechanization from Purdue University.

        3.      I am employed as the Chief Marketing Officer of Baicells Technologies North

 America Inc. (“Baicells”), a position I have held since November 2019. Prior to serving in my

 current position, I served as Director of Wireless Internet Service Provider (“WISP”) Markets for

 Baicells from February 2016 until November 2019.

        4.      Before joining Baicells, I served as Director of Business Development for

 InCompass Consulting Group, LLC from September 2015 until February 2016. I also previously

 served as Executive Director of the Wireless Internet Service Provider’s Association from

 August 2010 until December 2014, and I have held various positions in the wireless internet

 service provider and internet service industry since 1995.

        5.      I have read the Complaint, Declaration of Randy Mead dated January 20, 2020,

 and Declaration of Josh Wentworth dated January 20, 2020.


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        6.     I first became aware that LigTel Communications, Inc. (“LigTel”) had an issue

 with Baicells’ use of the five-digit Home Network Identity (“HNI”) code (also known as a Public

 Land Mobile Network (“PLMN”) code) 31198 in July 2019.

        7.     On July 2, 2019, Sam Tetherow of Sand Hills Wireless, a provider of business

 and residential internet services in Nebraska, reported to Baicells that he had received a cease-

 and-desist letter from an attorney representing LigTel. Mr. Tetherow submitted ticket number

 15724 to support_na@baicells.com asking for me to give him a call.

        8.     On July 9, 2019, I called Mr. Tetherow. Mr. Tetherow reported that LigTel had

 informed him that a company called Viaero Wireless (“Viaero”) claimed they were receiving

 spectrum interference in the 3.65-3.70 GHz shared spectrum band from someone using LigTel’s

 HNI Code of 311-980. I understand that Viaero is a company that offers mobile cellular, home

 internet, and home phone service to residents and businesses in Colorado, Kansas, Nebraska and

 Wyoming. See https://www.viaero.com/about-viaero-wireless (last visited March 31, 2020).

        9.     Mr. Tetherow further reported that Viaero had contacted LigTel when they

 mistakenly identified Baicells’ HNI code of 31198 as LigTel’s HNI Code of 311-980. Mr.

 Tetherow said he had temporarily resolved the issue with LigTel’s Josh Wentworth.

        10.    On July 9, 2019, Steve Barnes, Vice President of Operations at New Lisbon

 Telephone Company (“New Lisbon”), called me. Mr. Barnes said that Randy Mead, General

 Manager of LigTel—knowing that New Lisbon was using Baicells equipment—had called John

 Greene, CEO of New Lisbon, to ask questions about Baicells equipment and SIM card IMSI

 numbers.

        11.    “SIM” stands for “subscriber identification module,” and a SIM card is an

 integrated circuit that securely stores the international mobile subscriber identity (“IMSI”)



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 number and its related key, which are used to identify and authenticate subscribers on end users'

 devices, such as mobile phones and computers.

        12.     Following internal discussions regarding the issue with LigTel, on July 22, 2019,

 Baicells filed an application to obtain a new PLMN/HNI code with iConectiv and the Alliance

 for Telecommunications Industry Solutions (“ATIS”), and the IMSI Oversight Council (IOC).

 iConectiv is the United States IMSI Administrator which administers the HNI on behalf of the

 United States Department of State. See https://imsiadmin.com/, last visited April 1, 2020. The

 IOC is a committee of ATIS that oversees the performance of the IMSI administration. Id.

        13.     On July 29, 2019, iConectiv/ATIS assigned HNI code 314-030 to Baicells.

        14.     On the same day, July 29, 2019, I attended and participated in a meeting at

 LigTel’s office in Ligonier, Indiana.

        15.     Bo Wei, President and Chief Executive Officer, Ronald Mao, Director of Carrier

 Solutions, and I attended this meeting on behalf of Baicells.

        16.     Randy Mead, Chief Executive Officer and General Manager, Josh Wentworth,

 Network Operations Supervisor, and Mike Troup, Network Operations Manager and Marketing,

 attended on behalf of LigTel.

        17.     Without prior notice to Baicells, LigTel's outside counsel also participated in the

 meeting. This was surprising to myself and other Baicells representatives in attendance.

        18.     LigTel's counsel did not ask whether Baicells was represented by counsel, nor did

 they offer to have Baicells' counsel participate in the meeting.

        19.     LigTel’s outside counsel led the discussion during this meeting.




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        20.     LigTel presented Baicells with two options during the meeting: Baicells could

 change the HNI code that it uses, or Baicells could buy LigTel’s HNI Code and pay for LigTel to

 transition to a new HNI code.

        21.     For the second option, LigTel demanded that Baicells pay LigTel $1 million to

 transfer LigTel’s HNI Code to Baicells and transition LigTel to a new HNI code.

        22.     Baicells did not commit to either of the two options presented by LigTel at the

 meeting.

        23.     During the meeting, Wei and Mead left at one point and spoke briefly in private.

 I was not present for that conversation, and to the best of my knowledge, no one else was present

 for that conversation.

        24.     Before the meeting concluded, Baicells stated its intention to follow up with

 LigTel after Baicells had an opportunity to consult with its own outside counsel.

        25.     I took notes of this meeting and sent those notes by e-mail that same day to Wei

 and Mao. A true and correct copy of the notes I took, together with Mao’s own minutes of the

 meeting, is attached hereto as Exhibit 1 (BAICELLS-000035337-38).

        26.     After the meeting at LigTel, Baicells determined to migrate away from the PLMN

 of 31198 to the HNI Code of 314-030.

        27.     In August 2019, Baicells began participating in communications and meetings

 with the International Mobile Subscriber Identity (“IMSI”) Oversight Council (“IOC”) regarding

 Baicells’ plan to migrate to HNI Code 314-030. IOC is a division of ATIS responsible for

 overseeing the management of IMSI codes that have been assigned to the United States as

 authorized     by        the   U.S.   Department      of    State     since    1996.        (See

 https://www.atis.org/01_committ_forums/ioc/, last visited March 31, 2020.)



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        28.    On September 12, 2019, Baicells submitted the Baicells PLMN Migration Plan to

 IOC to be shared at the upcoming IOC meeting on September 20, 2019. Baicells also informed

 IOC that Baicells intended to begin the transition to the HNI Code 314-030 in November 2019

 and complete all migrations within six to nine months of that date. (A true and correct copy of

 the cover email to IOC and the accompanying Baicells PLMN Migration Plan is attached hereto

 as Exhibit 2, BAICELLS_000032549-55.)

        29.    On September 20, 2019, Baicells participated in a telephonic meeting of the IOC,

 at which the Baicells PLMN Migration Plan, and comments submitted by LigTel on the plan,

 were discussed. ( A true and correct copy of the meeting agenda is attached hereto as Exhibit 3,

 BAICELLS-000008424-25.)        I understand that during the meeting, the Baicells PLMN

 Migration Plan was reviewed and agreed upon by the IOC, subject to any feedback submitted by

 September 27, 2019. (A true and correct copy of an email from ATIS/IOC following the

 meeting is attached hereto as Exhibit 4, BAICELLS-000008008.)

        30.    LigTel subsequently submitted comments to the IOC regarding the Baicells

 PLMN Migration Plan, and Baicells responded to those comments.

        31.    Baicells participated in a follow-up telephonic meeting of the IOC on November

 6, 2019. I understand that during this meeting, the IOC and meeting participants reviewed an

 ATIS summary of Baicells’ PLMN migration plan. I further understand that Baicells agreed to

 provide periodic progress reports on its migration progress to the IOC, and the IOC proposed no

 additional changes to the Baicells PLMN Migration plan.

        32.    Following Wei’s departure from Baicells, I assumed responsibility, along with

 Jesse Raasch, Chief Technology Officer and Vice President of Emerging Business, and Andy




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 Yang, Director of Engineering and Support, for communicating updates and periodic progress

 reports to IOC regarding the Baicells PLMN Migration Plan.

          33.     On December 20, 2019, I submitted a progress report to IOC regarding the

 Baicells PLMN Migration Plan.          (A true and correct copy of the email to IOC and the

 accompanying December 20, 2019 progress report is attached hereto as Exhibit 5, BAICELLS-

 000007931-35.) Following this report, the IOC proposed no additional changes to the Baicells

 PLMN Migration Plan.

          34.     On February 20, 2020, I submitted a progress report to IOC regarding the Baicells

 PLMN Migration Plan. (A true and correct copy of the email to IOC and the accompanying

 February 20, 2020 progress report is attached hereto as Exhibit 6, BAICELLS_000024195-203.)

 Following this report, the IOC proposed no additional changes to the Baicells PLMN Migration

 Plan.

          35.     On March 18, 2020, I submitted a progress report to IOC regarding the Baicells

 PLMN Migration Plan (the “March 2020 Report”). (A true and correct copy of the email to IOC

 and     the    accompanying    March    2020   Report    is   attached   hereto   as   Exhibit   7,

 BAICELLS_000062663-74.) Following this report, the IOC proposed no additional changes to

 the Baicells PLMN Migration Plan.

          36.     The March 2020 Report stated that Baicells has begun an aggressive campaign to

 encourage Baicells customers to upgrade to a new firmware version utilizing the HNI Code 314-

 030. As a result, Baicells remains on track to meets its goal of completing the migration of all

 network operators to HNI Code 314-030 by the end of July 2020.

          37.     Baicells’ campaign to transition customers to HNI Code 314-030 began well

 before March 2020.



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         38.       For example, on January 29, 2020, Baicells announced on the Baicells Website

 Community Forum and Facebook Operator Support Group the release of a new software version

 for customer base stations and that “[s]tarting with this version we will also be changing the

 CloudCore PLMN to 314030.” (A true and correct copy of the January 29, 2020 announcement

 is     attached         hereto         as   Exhibit         8,   BAICELLS-000008517;         see   also

 https://community.na.baicells.com/t/rts-3-4-8-new-enb-software-has-been-released/1114/3,           last

 visited April 1, 2020.)

         39.       On February 14, 2020, Baicells made the same announcement in the Baiweekly

 Newsletter, which is a biweekly publication sent to Baicells customers. (A true and correct copy

 of the February 14, 2020 announcement is attached hereto as Exhibit 9, BAICELLS-000074485-

 97.)

         40.       On March 18, 2020, Baicells announced on the Baicells Website Community

 Forum and Facebook Operator Support Group the release of another new software version for

 customer base stations and that “[s]tarting with this version we will also be changing the

 CloudCore PLMN to 314030.” (A true and correct copy of the March 18, 2020 announcement is

 attached       hereto     as            Exhibit   10,        BAICELLS-000074482-83.          See   also

 https://community.na.baicells.com/t/qrtb-2-0-7-new-enb-software-has-been-released/1158,            last

 visited April 1, 2020.)

         41.       On March 18, 2020, Baicells further announced on the Baicells Website

 Community Forum and Facebook Operator Support Group that Baicells would be “retiring the

 original CloudCore PLMN” of 31198 and “replacing it with our new PLMN 314030,” effective

 July 1, 2020. (A true and correct copy of the March 18, 2020 announcement is attached hereto

 as            Exhibit            11,          BAICELLS-000074484.                      See         also



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  https://comrnunity.na.baicells.comltlannouncement-retiring-the-original-plmn-numberlI162,       last

  visited April I, 2020.)

            42.        Once Baicells completes the migration of all network operators to broadcast the

  new HNIIPLMN Code 314-030, there will be no risk of the sort of confusion related to spectrum

  interference between network operators that led to the meeting between Baicells and LigTel in

  July 2019.

            43.        Since July 2019, I am unaware of any other incidents of confusion related to

  spectrum interference between network operators involving Baicells' use of the HNI code 31198.

            44.        During my employment prior to Baicells, my familiarity with LigTel was limited

  to general knowledge based on my experience in the wireless internet service provider industry.

            45.        I do not have, and have never had, possession of or access to any documents or

  information that LigTel alleges to be its confidential or trade secret information including, but

  not limited to: LigTel's encryption code; network architecture, design, and engineering; or the

  operational layout of Lig'Tel's equipment, core, and servers.




             declare under penalty of perjury that the fdregoing is true and correct.


  Execute         on                                (date) in the State of Indiana, United States of
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  America.




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